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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

MISSION TOXICOLOGY, LLC and               §   No. 5:17-CV-1016-DAE
SUN CLINICAL LABORATORY,                  §       Consolidated with
LLC,                                      §       No. 5:18-CV-347-DAE
                                          §
        Plaintiffs,                       §
                                          §
vs.                                       §
                                          §
UNITEDHEALTHCARE                          §
INSURANCE COMPANY,                        §
UNITEDHEALTHCARE OF                       §
TEXAS, INC.,                              §
UNITEDHEALTHCARE OF                       §
FLORIDA, INC., and UNITED                 §
HEALTHCARE SERVICES, INC.,                §
                                          §
        Defendants.                       §

      ORDER DENYING DEFENDANTS’S MOTION TO DISMISS (DKT. # 47)

               Before the Court is Defendants UnitedHealthcare Insurance Company,

UnitedHealthcare of Texas, Inc., UnitedHealthcare of Florida, Inc., and United

Healthcare Services, Inc.’s (collectively, “Defendants”) Rule 12(b)(1) Motion to

Dismiss Plaintiffs’ Second Amended Complaint. (Dkt. # 47.) Pursuant to Local

Rule CV-7(h), the Court finds this matter suitable for disposition without a hearing.

After careful consideration of the memoranda filed in support of and in opposition




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to the motion, the Court, for the reasons that follow, DENIES Defendants’ Rule

12(b)(1) Motion to Dismiss Plaintiffs’ Second Amended Complaint.1 (Dkt. # 47.)

                                  BACKGROUND

              As alleged in their complaint, Plaintiffs Mission Toxicology LLC and

Sun Clinical Laboratory, LLC (collectively, “Plaintiffs”) perform laboratory

services, including urinalysis, blood, DNA, and allergy testing, for many

healthcare facilities, referring providers, and hospitals throughout the United

States. (Dkt. # 28 at 2, 5.) Defendants are related entities that insure and

administer various employee health and welfare benefit plans. (Id.) The plans at

issue in this case are governed by the Employee Retirement Income Security Act of

1974 (“ERISA”). (Id.) As part of its administration of these plans, Defendants

exercise discretion as an ERISA fiduciary in deciding whether to reimburse

benefits claims for services, including the laboratory services rendered by

Plaintiffs. (Id. at 6.)


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  Consolidated with this action is a related case in which two of the Defendants in
this action are suing the Plaintiffs in this action and others for various claims
including fraud and tortious interference with contract. (See Case No.
5:18-CV-347-DAE (W.D. Tex.)). Defendants in that case have filed motions to
dismiss under Rule 12(b)(6). Filed concurrently with this Order is a related Order
adjudicating those motions to dismiss. Because the facts alleged in each respective
complaint are different, and because on a Rule 12(b)(6) motion to dismiss a
complaint the Court is generally limited to considering the facts alleged in the
complaint, the Court deems it prudent to issue separate orders, even though the
cases are consolidated.

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             Defendants’ plans allow members to choose to obtain healthcare

services from either network providers or non-network providers. (Id. at 7.)

Network providers are providers with whom Defendants have entered into

agreements whereby Defendants will reimburse the providers at specified rates for

medical services provided to Defendants’ insureds and the network providers agree

to provide services to Defendants’ insured at those rates. (Id.)

             Two such network providers with which Defendants have agreements

are two rural hospitals, Newman Memorial Hospital (“Newman”) and Community

Memorial Hospital (“CMH”). (Id. at 10.) Plaintiffs have contracts with Newman

and CMH, and other similar facilities, for Plaintiffs to provide the facilities with

the specialized testing they offer, which allows such facilities to handle a higher

volume of physician order for laboratory services than they would otherwise be

able to handle. (Id. at 9.)

             Newman, CMH, and Plaintiffs receive referrals for these laboratory

services from healthcare providers who require such services for their patients.

(Id. at 10.) After receiving such referrals and performing the requested testing,

Plaintiffs or third-party billers submit bills to the individuals for whom the

laboratory services were performed, or to third-party insurance payors, like

Defendants. (Id. at 10–11.) In this particular case, services performed by Plaintiffs

for Defendants’ insureds were billed to United by Newman and CMH, and

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Defendant’s insureds were billed by Newman and CMH for payment of any

applicable coinsurance, deductibles, and co-pays. (Id. at 12–13.)

               Plaintiffs allege that on or about December 16, 2016, Defendants

began denying all claims for medical services performed by Plaintiffs and

requesting medical records in support of those claims. (Id. at 13–14.) In response,

Newman’s third-party biller submitted various additional documentation for some

three thousand claims, which Plaintiffs assert sufficiently demonstrated the validity

of the claims and that the services were performed as ordered by the referring

physicians. (Id. at 14–15.) Defendants then remitted payment for many of the

claims they had previously denied, after reviewing the provided documentation.

(Id. at 15.)

               On May 5, 2017, Defendants again began denying all laboratory

services claims submitted to them on behalf of Newman and continues to do so.

(Id.) Defendants also allegedly began demanding a patient’s entire medical record

for each claim submitted, stating the records previously provided were insufficient.

(Id.) Plaintiffs assert this conduct is part of a “scheme to deny the laboratory

services claims by requesting medical records inapplicable to the [l]aboratory

[s]ervices” provided by Plaintiffs.” (Id. at 16.) Plaintiffs also assert Defendants

failed to appropriately review the medical records that were provided and issued




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blanket denials on all claims for laboratory services provided by Plaintiffs to

Defendants’ insureds. (Id.)

             Plaintiffs allege that Defendants have wrongfully refused to pay

approximately 12,111 claims for laboratory services provided by Plaintiffs for

Defendants’ insureds on behalf of Newman and an additional 2,156 claims for

services provided on behalf of CMH. (Id.) Plaintiffs in this action further allege

that to date Defendants have failed to reimburse them for $49,149,619.14 in such

laboratory services. (Id.)

             Plaintiffs in this action assert that they received assignments of

benefits (“AOBs”) from the individual insureds to whom they provided services,

“placing them in the shoes of those individuals and entitling Plaintiffs to all rights,

title and benefits extending from the coverage policies of [Defendants’] insureds.”

(Id. at 13.) According to Plaintiffs, these AOBs convey to them “the legal right to

pursue [the denied] claims for benefits on behalf of” Defendants’ insureds. (Id. at

17.)

             Plaintiffs initially asserted six claims for relief under ERISA and

Texas state law. (See Dkt. # 1.) However, pursuant to a motion to dismiss filed by

Defendants, Plaintiffs’ initial complaint was dismissed, and Plaintiffs were granted

leave to replead only their ERISA claim for benefits under 29 U.S.C.

§ 1132(a)(1)(b). (Dkt. # 27.) Plaintiffs’ operative complaint now asserts one claim

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for benefits under 29 U.S.C. § 1132(a)(1)(b), for the cost of the medical services

they provided, alleging a laundry list of plan terms that were violated by

Defendants’ conduct. (Id. at 19–24.)

             Defendants then filed the instant motion to dismiss Plaintiffs operative

complaint, which asserts that this Court lacks subject matter jurisdiction over this

action. (Dkt. # 47.) Plaintiffs filed a response in opposition to Defendants motion,

and Defendant filed a reply in support of their motion. (Dkts. ## 56, 58.)

                                LEGAL STANDARD

             Pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure, a

case will be dismissed if a court lacks subject-matter jurisdiction over the suit.

Fed. R. Civ. P. 12(b)(1). When evaluating a Rule 12(b)(1) motion, the Court may

dismiss a suit “for lack of subject matter jurisdiction on any one of three separate

bases: (1) the complaint alone; (2) the complaint supplemented by undisputed facts

evidenced in the record; or (3) the complaint supplemented by undisputed facts

plus the court’s resolution of disputed facts.” Freeman v. United States, 556 F.3d

326, 334 (5th Cir. 2009) (quoting Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir.

1981)). “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party

asserting jurisdiction. Accordingly, the plaintiff constantly bears the burden of

proof that jurisdiction does in fact exist.” Ramming v. United States, 281 F.3d 158,

161 (5th Cir. 2001) (internal citations omitted).

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                                   DISCUSSION

             Defendants’ motion asserts that Plaintiffs lack both Article III and

statutory standing to assert the ERISA claim at issue in this action. (Dkt. # 47 at

6.) The Court will address each of these arguments in turn.

I.    Article III Standing

             Constitutional standing contains three elements.

      First, the plaintiff must have suffered an injury in fact—an invasion of
      a legally protected interest which is (a) concrete and particularized and
      (b) actual or imminent, not conjectural or hypothetical. Second, there
      must be a causal connection between the injury and the conduct
      complained of—the injury has to be fairly traceable to the challenged
      action of the defendant, and not the result of the independent action of
      some third party not before the court. Third, it must be likely, as
      opposed to merely speculative, that the injury will be redressed by a
      favorable decision.

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (internal quotation marks

and citations omitted).

             Because Defendants’ ERISA claim is derivative of the assigned rights

of Defendants’ insureds, Defendants only have standing to assert their claims if the

individual insureds have suffered an injury in fact. Mid-Town Surgical Ctr., L.L.P.

v. Humana Health Plan of Texas, Inc., 16 F. Supp. 3d 767, 777 (S.D. Tex. 2014)

(citing Harris Methodist Fort Worth v. Sales Support Servs. Inc. Emp. Health Care

Plan, 426 F.3d 330, 334–35 (5th Cir. 2005)). “Under this theory [of derivative

standing], the medical provider stands in the shoes of the ERISA beneficiary to

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assert its rights under the plan terms, rather than asserting some independent legal

duty owed directly to the healthcare provider.” Spring E.R., LLC v. Aetna Life Ins.

Co., No. H-09-2001, 2010 WL 598748, at *2 (S.D. Tex. Feb. 17, 2010).

             Defendants assert Plaintiffs lack standing because there was no injury

in fact suffered by their insureds. This argument is premised on the fact that under

the terms of Defendants’ network participation agreements, network providers, like

Newman and CMH, may not charge the individual insureds for “covered services

beyond copayments, coinsurance, or deductibles” and “may not balance bill the

[insured] for additional payments of covered services beyond their normal cost

share amount.” (Dkt. # 47-3 at 57–58.) Additionally, any dispute a provider may

have over payment of claims must be resolved between Defendants and the

medical provider. (Id. at 55.) Thus, according to Defendants’ argument, their

insureds have suffered no injury in fact because they “owe nothing for claims

submitted by NMH or CMH, even if the claims were denied.” (Dkt. # 47 at 15.)

             Defendants’ argument relies heavily on Mid-Town Surgical Center,

L.L.P. v. Humana Health Plan of Texas, Inc., 16 F. Supp. 3d 767 (S.D. Tex. 2014).

Mid-Town Surgical held that the plaintiff failed to allege facts sufficient to show

standing on a claim under 29 U.S.C. § 1132(a)(1)(B) because the plaintiff had

failed to allege “any distinct injury [to the individual insureds], such as

out-of-pocket losses or personal liability for . . . charges in the event of [the

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insurer’s] non-payment that would confer derivative standing on [the plaintiff] to

assert the [individual insureds’] claims.” Id. at 777. Based on this language,

Defendants argue that because their insureds had no personal liability for the

services rendered by Plaintiffs beyond co-pay, deductibles, and co-insurance,

which they would be required to pay regardless, they suffered no distinct injury-in-

fact. However, that portion of the decision in Mid-Town Surgical relies on North

Cyprus Medical Center Operating Company v. Cigna Healthcare, No. 4:09-cv-

2556, 2012 WL 8019265 (S.D. Tex. June 25, 2012). And the portion of the North

Cyprus opinion relied on by the court in Mid-Town Surgical was vacated and

remanded by the Fifth Circuit. See N. Cyprus Med. Ctr. Operating Co., Ltd. v.

Cigna Healthcare, 781 F.3d 182, 207 (5th Cir. 2015).

             Moreover, the Fifth Circuit’s opinion in North Cyprus strongly

counsels reaching the opposite conclusion as that reached in Mid-Town Surgical

and advanced by Defendants. Although North Cyprus dealt with a different factual

situation from the instant case in which the medical services at issue were provided

by non-network providers and thus individual insureds were at theoretical risk of

being obligated to pay them, the reasoning employed by the Fifth Circuit and the

conclusion it reaches seems equally applicable to the instant case. Even though the

individual insureds in this case likely do not owe anything for the disputed claims

submitted by Newman and CMH, their contractual agreement with Defendants

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under their insurance plans provide that Defendants will pay medical service

providers for medical services covered under the terms of the plan. To the extent

Plaintiffs’ allegation is that Defendants refused to properly pay the service provider

for services covered by the insurance plans, Plaintiffs are alleging Defendants

failed to fulfill its contractual obligations to the insureds under the terms of the

plan.

             In North Cyprus, the Fifth Circuit quoted with approval a decision of

the Southern District of New York, which held that “if a provider ‘has alleged it is

an assignee of the Patient and that [the insurer] failed to fulfil its contractual

obligations to the Patient[,] this is all that is required to demonstrate Article III

standing.’” 781 F.3d at 193 (first alteration in original). According to the Fifth

Circuit, such a “failure to pay . . . denies the patient the benefit of her bargain”

because the insurer is “failing to uphold the bargain by paying for covered

services.” Id. Because “[t]he patients have thus allegedly been deprived of what

they contracted for, [they have alleged] a concrete injury.”2 Id. at 194.

             Finally, as Defendants do in this case, Defendants in North Cyprus

urged the Fifth Circuit that it “should be persuaded by courts which have found no



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  It should be noted that failure to pay providers places the insureds at imminent
risk of being unable to continue to see those providers who are not being paid
services rendered to them.

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Article III injury in the absence of a threat that patients will be billed . . . .” Id. at

194. However, the Fifth Circuit was not persuaded,

       in the face of the principles already discussed and our long endorsement
       of ERISA assignments. The patients here assigned their rights under
       their insurance contracts to [the plaintiff], and [the plaintiff] has
       standing to enforce the contracts. We have consistently held that the
       ability of patients to assign their claims to medical providers is both
       permissible and beneficial.

Id. at 194–95; see also Harris Methodist Fort Worth, 426 F.3d 337 (noting the

benefits of allowing assignment to health care providers and stating that “[t]o deny

standing to health care providers as assignees of beneficiaries of ERISA plans

might undermine Congress’ goal of enhancing employees’ health and welfare

benefit coverage”).

              Accordingly, the Court concludes that Plaintiffs have alleged an

injury-in-fact sufficient to convey Article III standing.

II.    Statutory Standing

              ERISA ordinarily only permits a private civil action to be brought by a

statutorily defined “participant” or “beneficiary.” 29 U.S.C. § 1132(a). However,

“[i]t is well established that a healthcare provider, though not a statutorily

designated ERISA beneficiary, may obtain standing to sue derivatively to enforce

an ERISA plan beneficiary’s claim.” Harris Methodist Forth Worth, 426 F.3d at

333–34. “It is clear in this Circuit that a health care provider may possess standing

under ERISA by virtue of a valid assignment.” Dallas Cty. Hosp. Dist. v. Assocs.
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Health & Welfare Plan, 293 F.3d 282, 285 (5th Cir. 2002). To decide what rights,

if any have been assigned, the Court “must ‘examine and consider the entire

writing and give effect to all provisions such that none are rendered meaningless.’”

Harris Methodist Forth Worth, 426 F.3d at 334.

             Plaintiffs allege in their complaint that they received signed AOBs

from each of the patients to whom the rendered services related to the disputed

claims and filed an exemplar AOB as a supplemental attachment to their

complaint. (Dkts. ## 28 at 13; 31-4, Ex. B at 2.) The AOB states in relevant part:

      In consideration of services rendered, I transfer and assign any benefits
      of insurance to Mission Toxicology and authorize Mission Toxicology
      to submit claims on my behalf directly to my private health insurance
      provider/health plan. I authorize Mission Toxicology to release to my
      insurance carrier or health plan providing my medical benefits and any
      health plan of which I am a member, any medical information needed
      for claims or payment purposes. I understand that Mission Toxicology
      is an out of network provider. . . . I agree this Assignment of Benefits
      and Consent will cover all medical services rendered by Mission
      Toxicology to me until such authorization is revoked in writing by me.

(Dkt. # 31-4, Ex. B at 2.)

             Defendants point to the language in the AOB indicating that Mission

Toxicology is an “out of network provider” in asserting that the AOB only assigns

to Plaintiffs the insureds’ benefits under the insurance plan for out of network

services. (Dkts. ## 47 at 17–18; 58 at 12–14.) According to Defendants, because

Plaintiffs claims assert recovery for in-network services billed by network

providers Newman and CMH, these benefits are not covered by an assignment of
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out of network benefits such as that contained in the AOBs. (Id.) Defendants

therefore conclude that Plaintiffs have not been assigned the benefits for which

they are suing, and therefore lack derivative standing to pursue their claims. (Id.)

             However, Defendants’ argument ignores the last sentence of the AOBs

which states, “I agree this Assignment of Benefits and Consent will cover all

medical services rendered by Mission Toxicology to me.” (Dkt. # 31-4, Ex. B at

2.) In determining the scope and application of an AOB, the Court “must ‘examine

and consider the entire writing and give effect to all provisions such that none are

rendered meaningless.’” Harris Methodist Forth Worth, 426 F.3d at 334. The

distinction between in-network and out of network benefits is therefore immaterial.

By virtue of the AOBs, the individual insureds have assigned to Plaintiffs “any

benefits of insurance” related to “all medical services rendered by” them. (Dkt.

# 31-4, Ex. B at 2.) This broad language thus covers any benefits individual

insureds are entitled to for any medical services rendered by Plaintiffs, including

both out of network services rendered through a direct relationship with Plaintiffs,

as well as the in-network services in this case rendered through an intermediate

relationship involving network hospitals like Newman and CMH.

             Accordingly, the Court concludes that Plaintiffs have sufficiently

demonstrated they possess statutory standing to pursue this action.




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             Because Plaintiffs possess both constitutional as well as statutory

standing in this case, Defendants’ motion to dismiss for lack of subject matter

jurisdiction is DENIED. (Dkt. # 47.)

                                  CONCLUSION

             For the reasons stated, the Court DENIES Defendants’ Rule 12(b)(1)

Motion to Dismiss. (Dkt. # 47.)

      IT IS SO ORDERED.

      DATED: San Antonio, Texas, August 20, 2019.




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